4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07    Page 1 of 16 - Page ID # 160



                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )        4:07CR 3117
                                            )
           v.                               )
                                            )
                                            )
SANTIAGO ALMAZAN-RIOS,                      )    REPORT, RECOMMENDATION
                                            )           AND ORDER
                   Defendant.               )
                                            )



     A hearing was held before the undersigned on October 30,
2007 on the defendant's motion to suppress evidence.                The matter
arises from an indictment charging defendants with possessing
with intent to deliver 50 grams or more of a substance containing
methamphetamine.    The motion challenges a search of the
defendant's Grand Island, Nebraska motel room on August 21, 2007.
I make the following findings and recommendations.



                                    FACTS


     Investigator Ross Lyon of the Nebraska State Patrol
testified that the Tri-City Drug Task Force on that date was
working on arranging a "controlled purchase" of methamphetamine
from co-defendant Johnny Vega, using a confidential informant.
The informant made contact with Vega that afternoon, and gave him
the money for the purchase.        Vega and the informant then went to
a Motel 6 about 3:45 p.m. and parked in the parking lot.                 Vega
entered Room 227 and a few minutes later called the informant to
instruct her to come into the room.             The informant did so, and
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 2 of 16 - Page ID # 161



was given approximately 11 grams of a substance that tested
positive for methamphetamine.       After the delivery the informant
stated to investigators that another Hispanic male, known to her
only as "Pelon," was in the room.


     Jeffrey Shelton, another investigator with the Nebraska
State Patrol assigned to the Tri-City Drug Task Force, had
participated in audio surveillance of the controlled purchase
from Vega that afternoon.      He knew about the investigation of
Vega and thought that if the officers could gain access to the
motel room, they might find additional quantities of
methamphetamine.    Shortly before 5:00 p.m.1 he went to the motel
desk before the other officers approached room 227.              He asked the
attendant for the room receipt for room 227, which was provided.
The room was rented in the defendant's name.            Defendant had just
changed rooms; the prior night he had stayed in a room registered
to a Sonny Garcia.      The vehicle seen in the motel parking lot was
registered to Sonny Garcia.


     Investigators determined that Vega had an outstanding
warrant for his arrest, and decided to approach the room to
effect his arrest.2     At approximately 5:00 p.m. several officers
approached the door to room 227.        Lyon and Shelton were the first
two officers at the door, with Lyon in front.            Three other


     1
      Because Shelton was a member of the team that entered the
motel room, and because he obviously could not be two places at
once, I infer that he went to the motel desk before he
participated in the entry of the room, although the testimony was
not explicit in this respect, describing the time as "about" or
"approximately" 5:00 p.m. for both events.
     2
      No officers remained at the motel with the entry to room
227 under surveillance during the interim between 4:00 p.m., when
they left, and their return at approximately 5:00 p.m.

                                    -2-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07     Page 3 of 16 - Page ID # 162



officers stood immediately behind them.              All officers were armed
and had badges visible.     They were also dressed in clothing
marked "Police" or similar clothing identifying them as law
enforcement officers.      At least Lyon and Shelton had their guns
out of their holsters, but not raised.


     Lyon knocked on the door and announced, "Maintenance."
Defendant opened the door wide.        Lyon immediately identified them
as police officers, and asked, "Is Johnny Vega here?"                 Defendant
said, "Johnny?    Sure."   He then turned slightly toward the inside
of the room and said, "Johnny, it's for you."


     Lyon and Shelton immediately entered the room.                Vega was
standing behind a wall inside the room.              When Lyon saw him, Lyon
immediately told him he was under arrest, and Lyon and Shelton
took Vega to the floor and cuffed him.          In that process Lyon and
Shelton both saw directly behind Vega on the floor two bongs of
the type used for smoking methamphetamine, each with powder
residue, a digital scale, and other drug paraphernalia.                 Lyon
searched Vega's person and found several small baggies typical of
those commonly used in drug dealing.          Vega said, "What I have on
me is mine; the rest is his," presumably referring to the
defendant; however, when asked, Vega made no further comments.


     The room was very small, containing only one double bed
which was approximately three or four feet from the entrance
where the officers entered, and only about one foot from the far
wall.   It also had a small bathroom.


     Meanwhile, after the defendant said, "It's for you," Lyon
instantly "passed him back" to the officers standing behind Lyon
at the doorway or in the hall.       Defendant was cooperative.             Mark


                                    -3-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 4 of 16 - Page ID # 163



Dreher, an investigator with the Grand Island Police Department,
contacted defendant in the hallway.         Dreyer explained to
defendant that he would be searched and cuffed for officer safety
reasons due to the fact that Vega was being arrested and had a
history of violence.     Upon conducting a pat-down search of the
defendant, Dreyer discovered a wallet with cash in it and a
baggie containing what the officer thought was methamphetamine.
Defendant was cooperative and did not resist in any way.


     No search warrant was obtained for room 227, and upon
defendant's opening the door, the officers did not ask for
consent to search the room.        At no time did defendant revoke any
implied consent to search the room.         All officers were at all
times armed with guns, at least some of which were out of their
holsters, although the weapons were not "brandished."               All
conversation was in English.


     Shelton testified that he had not sought a search warrant
for search of room 227 because the officers had an outstanding
arrest warrant for Vega, and knew that the room was small, that
is, that just prior to his arrest, Vega would have had access to
all parts of it, and unless restrained would continue to have
access to it.   Thus, Shelton apparently reasoned that any search
of the room would be incident to Vega's arrest.


     After Vega was on the floor and cuffed, and the defendant
was outside the room also cuffed, the officers searched the room.
Investigator Shelton found a small zippered suitcase on the floor
between the bed and the wall farthest from the doorway; Shelton
placed the suitcase on the bed, nearly dumping its contents
because it was not zipped shut.        He opened the suitcase and
discovered a loaded handgun, ammunition, a Motel 6 receipt, and


                                     -4-
4:07-cr-03117-RGK-DLP   Doc # 48    Filed: 11/16/07   Page 5 of 16 - Page ID # 164



approximately one-half pound of methamphetamine.              Found elsewhere
in the room were a sales receipt for sale of a vehicle to Sonny
Garcia, and another digital scale.



                           PARTIES' POSITIONS


        Defendant argues that the door to the motel room was
answered only in response to the officers' show of authority,
and, therefore, there was no valid consent given by defendant for
the officers' entry into the room.          Defendant claims that in the
absence of a warrant or defendant's consent, the officers' entry
into the room violated his rights under the Fourth Amendment,
citing United States v. Connor, 127 F.3d 663 (8th Cir. 1997).


     The government argues that the defendant's opening the door
and turning slightly to say to Vega, "It's for you" were acts
from which reasonable officers could infer that they had been
given consent to enter the room.         The government also argues that
prior to their entry, the officers had probable cause to believe
that evidence of a crime was in the room and exigent
circumstances existed justifying the warrantless search.                 The
government also argues that the search was a valid search
incident to Vega's arrest.         Finally, the government argues that
the search should be upheld on the "inevitable discovery" rule,
because had defendant not consented to their entry and search,
and if exigent circumstances did not exist, the officers would
have secured the room and sought a search warrant based on Vega's
outstanding arrest warrant and their belief he was still in the
room.




                                      -5-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 6 of 16 - Page ID # 165



                               DISCUSSION


     The Supreme Court has long recognized that the
constitutional protection against unreasonable searches and
seizures of a home or an apartment apply with equal force to a
person's privacy in a temporary dwelling place such as a hotel
room.   Stoner v. California, 376 U.S. 483, 490 (1964); United
States v. Rambo, 789 F.2d 1289, 1295 (8th Cir. 1986).               Defendant,
as the renter of the room, had a legitimate expectation of
privacy in the motel room, and may claim the protections of the
Fourth Amendment from unreasonable search thereof.


                   Existence of the Arrest Warrant


     The Supreme Court held in Payton v. New York, 445 U.S.
     573 (1980) “that police officers do not need a search
     warrant to enter the home of the subject of an arrest
     warrant in order to effectuate the arrest.” United
     States v. Boyd, 180 F.3d 967, 977 (8th Cir. 1999). An
     arrest warrant founded on probable cause implicitly
     carries with it the limited authority to enter a
     dwelling in which the suspect lives when there is
     reason to believe the suspect is within. Steagald v.
     United States, 451 U.S. 204 (1981). In Steagald,
     police entered the defendant's home without a search
     warrant to arrest a third-party suspect. While there,
     police seized drugs that were in the defendant's
     possession. Applying Steagald, we held that in the
     absence of exigent circumstances or consent, a law
     enforcement officer could not legally search for the
     subject of an arrest warrant in the home of a third
     party, without first obtaining a search warrant.
     Steagald, 451 U.S. at 215-16; see also, United States
     v. Davis, 288 F.3d 359, 362 (8th Cir. 2002).

United States v. Powell, 379 F.3d 520, 523 (8th Cir. 2004).                See
also United States v. Risse, 83 F.3d 212, 215 (8th Cir. 1996).




                                    -6-
4:07-cr-03117-RGK-DLP    Doc # 48   Filed: 11/16/07   Page 7 of 16 - Page ID # 166



     The officers had been told there was an outstanding arrest
warrant for Johnny Vega.       Additionally, they knew he had two
hours earlier sold the confidential informant 11 grams of
methamphetamine.    Although the informant had told them there was
another male, "Pelon," in the room, the officers knew only that
that person may be the owner of the vehicle they had spotted in
the parking lot, and/or had registered for the room.


     In United States v. Junkman, 160 F.3d 1191 (8th Cir. 1998)
police had an arrest warrant for Kent Junkman, whom they thought
(reasonably) was "residing" in a motel room.             In fact, it was his
brother, Curtis, the defendant.         Police entered the room with a
passkey given them by the motel desk clerk after no one answered
the door and they heard a commotion inside after they'd knocked
and announced their presence.


     As earlier indicated, the officers entered the room in
     order to find Kent Junkman. He was the object of the
     arrest warrant. As long as the officers reasonably
     believed Kent Junkman was a co-resident of the room,
     the entry into the room to arrest Kent Junkman was a
     reasonable one. See Steagald, 451 U.S. at 214 n. 7.

160 F.3d at 1194.       Since there was no evidence to the effect that
the room had been registered in Vega's name or otherwise that he
"resided" in the room, Junkman is distinguishable.               Although it
would be reasonable for officers to believe under these
circumstances that Vega was likely present in the room, I have
found no cases indicating that such a belief alone, even if
reasonable, is sufficient to permit officers to enter a third
party's motel room to arrest the subject of a warrant, absent
either consent or exigent circumstances.




                                     -7-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 8 of 16 - Page ID # 167



                                   Consent


     First, the government contends that the actions of defendant
in opening the motel room door, turning, and saying, "Johnny,
it's for you" were acts from which a reasonable officer could
infer consent to enter in search of Johnny Vega.             Consent is a
question of fact, derived from consideration of the totality of
the circumstances.      Schneckloth v. Bustamonte, 412 U.S. 218,
226-27 (1973); United States v. Willie, 462 F.3d 892, 896 (8th
Cir. 2006); United States v. Dennis, 625 F.2d 782, 793 (8th Cir.
1980).   United States v. Kampbell, 574 F.2d 962, 963 (8th Cir.
1978).


     Our case law offers a catalogue of factors to consider
     in judging the voluntariness of a defendant's consent
     to search. Some relate to the characteristics and
     behavior of the defendant, such as the defendant's age,
     intelligence and education, knowledge of his
     constitutional rights (whether from Miranda warnings in
     the encounter at issue or from previous interactions
     with police), whether he was under the influence of
     drugs or alcohol, and whether he objected to the search
     or stood by silently as it was occurring. United
     States v. Chaidez, 906 F.2d 377, 381 (8th Cir. 1990).
     Others relate to the environment surrounding the
     defendant at the time he gave his consent, such as
     whether he was in custody or under arrest and whether
     he was in a public or secluded place. Id. Still
     others relate to the interaction between police and the
     defendant in the encounter, such as whether police
     officers detained and questioned the defendant for a
     long time before obtaining his consent, whether they
     threatened, physically intimidated, or punished him,
     and whether they made promises or misrepresentations
     upon which the defendant relied in giving his consent.
     Id. No one factor is dispositive; they are merely
     tools for analyzing the “totality of all the
     circumstances.” Bustamonte, 412 U.S. at 227.

Willie, 462 F.3d at 896.


                                     -8-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 9 of 16 - Page ID # 168



     In this case there are factors which would auger against a
finding of voluntary consent.       For example, the fact that the
officers were in riot gear with guns unholstered certainly would
appear to make the atmosphere "police dominated" and
"intimidating."    In addition, Lyon used the ruse of "maintenance"
to elicit the opening of the motel room's door.             On the other
hand, there were other factors from which voluntariness of
consent to enter could be inferred:         Defendant opened the motel
room door without asking who was there; he opened the door wide,
not just a crack; when the officers identified themselves, he did
not attempt to close the door; when they asked if Vega was there,
he responded, "Johnny?     Sure" and looked or pointed back toward
the inside of the room; he was not under arrest, or promised
anything, or forcefully wrestled to the floor; he was "passed
back" by the officers without resistance; he cooperated with
officers at all times; and he never objected to the officers
entering the motel room or searching for Vega.3


     Even if the evidence were insufficient to justify a
reasonable officer from drawing an inference that defendant
consented to their entering his room to search generally, the
evidence most certainly supports a reasonable inference by
officers that he was consenting to their entry for the limited
purpose of searching for Vega.       That is, defendant could have
reasonably inferred from the officers' question, "Is Johnny Vega
here?" that their purpose was limited to contacting Vega and
nothing else would be done if defendant merely cooperated with
that activity.    Even if defendant intended to so limit the scope


     3
      Other than the fact that all the conversations with the
defendant were in English, the record is silent as to any of the
defendant's own characteristics that might bear on the voluntary
consent issue.

                                    -9-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 10 of 16 - Page ID # 169



of his consent, however, the officers were reasonable in
believing he had consented to their entry for at least that
limited purpose, and they did not exceed the scope of that
limited permission to enter until after they had discovered the
drug paraphernalia in plain view.


     In United States v. Williams, 346 F.3d 796 (8th Cir. 2003)
officers entered a motel room registered to defendant's wife in
search of him; they had been told he had an arrest warrant
outstanding.    The court of appeals found no error in crediting
the officers' testimony that after they asked permission to enter
the room, she stepped back, opened the door further, and said
something like "Okay."      They entered, found him, checked on the
existence of a warrant, and when it was confirmed, arrested him.
They then did a search incident to arrest of only the area within
defendant's armspan, finding the firearms which were the basis
for his conviction.     In upholding the officers' inference of
consent, the court of appeals found that a reasonable officer in
their position could have inferred consent from these
circumstances.    346 F.3d at 799 (citing United States v. Mendoza-
Cepeda, 250 F.3d 626, 627-29 (8th Cir. 2001)).


     To be sure, the situation was not without ambiguity, but in
my view inferring that defendant had consented for them to enter
the room was within the range of reasonable inferences officers
were entitled to draw from the circumstances.             The entry did not
violate the Fourth Amendment.




                                    -10-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 11 of 16 - Page ID # 170



                        Search Incident to Arrest


     At the time Vega was arrested and taken to the floor,
officers quickly perused the room for other occupants and then
proceeded to search the room for evidence and/or weapons once
both Vega and the defendant had been secured.             A suitcase was
found on the floor along the wall farthest from the entrance, in
which were found items forming the subject of the present
charges.    In addition, on Vega's person they discovered baggies
and methamphetamine.


     The "incident-to-arrest" exception to the warrant
requirement was defined in Chimel v. California, 395 U.S. 752
(1969) as permitting a search of the area around the arrestee
which was in his "immediate control," that is, into which the
arrestee might reach to obtain a weapon or destroy evidence.                 Id.
at 763.    It was expanded later in New York v. Belton, 453 U.S.
454 (1981) to include search of an automobile passenger
compartment, including containers therein, upon the arrest of an
occupant.    Recently this exception was expanded to include a
person who had exited a vehicle before being contacted by police.
United States v. Thornton, 541 U.S. 615 (2004).              The Eighth
Circuit Court of appeals has applied the exception to searches of
hotel rooms in similar circumstances performed after a
defendant's arrest, even though he may not have had actual access
to all of the areas searched.        See, e.g., United States v.
Williams, supra; United States v. Palumbo, 735 F.2d 1095 (8th
Cir. 1984), cert. denied, 469 U.S. 934 (1984).


     The search here clearly fits within the incident-to-arrest
exception to the warrant requirement.           The room was small and
even though its occupants were cuffed and defendant had been


                                    -11-
4:07-cr-03117-RGK-DLP   Doc # 48    Filed: 11/16/07   Page 12 of 16 - Page ID # 171



removed, the officers knew Vega had a history of carrying weapons
and violence.    Even though he was, at the time of the search,
under control, nevertheless he was still within the confines of
the room; had he escaped the officers' hold, he would have had
immediate access to the gun in the suitcase.



                                   Plain View


     Once the officers were lawfully in the motel room, their
discovery of the bongs and other paraphernalia on the floor
behind Vega activated the "plain view" doctrine.               United States
v. Boyd, 180 F.3d 967, 976 (8th Cir. 1999) (citing United States
v. Evans, 966 F.2d 398, 400 (8th Cir.1992)(holding the plain view
doctrine permits seizure of an item if police are lawfully in
position to observe the item and if its incriminating character
is immediately apparent).      That discovery gave them probable
cause to search the room for other evidence.


     Coinciding with these events was the search of the
defendant's person in the hallway for officer safety.                Once
methamphetamine was discovered on his person, officers had
probable cause to arrest defendant and to search the entire room
as incident to that arrest.         United States v. Williams, supra.



                         Exigent Circumstances


     Although the government appears to argue that exigent
circumstances justified their entry into the motel room without
the defendant's consent, because of my findings above, I conclude
that it is unnecessary to address that argument.               That said, I


                                      -12-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 13 of 16 - Page ID # 172



have serious doubts that exigent circumstances did exist.                The
officers did not have the room under surveillance for a one-hour
period before they entered; that is, they did not know for a fact
that the room was even occupied.


     In addition, even if they had had that knowledge, it is
reasonable to assume that drug dealers would not be attempting to
flush their stash of "merchandise" in the absence of some police
presence.   They had already conducted the controlled purchase to
the confidential informant with no police intervention
immediately following the event.         There is no evidence that the
two defendants had any suspicion that the police were preparing
to enter the room until Investigator Lyon identified them as
police officers after defendant opened the door.              That situation
was police-created.     United States v. Johnson, 12 F. 3d 760 (8th
Cir. 1993), cert. denied, 512 U.S. 1211 (1994); See also United
States v. Duchi, 906 F.2d 1278, 1284 (8th Cir. 1990), citing
United States v. Johnson, 904 F. 2d 443 (8th Cir. 1990)
(Officers' opportunity to obtain warrant and their investigative
techniques examined in determining applicability of exigent
circumstances; police cannot benefit from their own creation of
exigent circumstances); compare United States v. Leveringston,
397 F. 3d 1112, 1115 (8th Cir. 2005) (Applying objective test,
reasonable officer could believe exigent circumstances existed
when there was probable cause to search, and police, after
knocking and announcing their presence at door of hotel room,
heard loud crashes and water running and saw individual running
from the hotel room window who, when apprehended, possessed key
card to room and whose hand and shirt were covered in blood).
United States v. Palumbo, 735 F.2d 1095 (8th Cir. 1984), cert.
denied, 469 U.S. 934 (1984) (Officers' plan to obtain warrant
after controlled purchase of cocaine from hotel room was thwarted


                                    -13-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 14 of 16 - Page ID # 173



by seller announcing during purchase that he would accompany
confidential informant to the "buyer's" room which was actually
occupied by officers; their fear that arresting the seller in
that room would cause seller's accomplice to destroy cocaine gave
rise to exigent circumstances justifying their warrantless entry
into the seller's room to effectuate arrests).


     The exigent circumstances exception to the warrant
requirement is narrowly drawn and applies only if lives are
threatened, a suspect's escape is imminent, or evidence is about
to be destroyed.    United States v. Ball, 90 F.3d 260, 262 (8th
Cir. 1996) (Exception applied when suspect fled into residence
after narcotics sale, attempting to escape).             In this case while
it may be said that once the police entered the motel room,
evidence was in danger of being destroyed, there is no evidence
that it was about to be destroyed before they entered, and
further, no evidence of anything that prevented them from
applying for a search warrant in the hour between the debriefing
of the confidential informant and their entry into the room, had
they chosen to apply for a warrant instead of entering.



                          Inevitable Discovery


     Under the inevitable discovery doctrine, evidence that would
have been discovered “through independent, lawful means should be
admitted so that the prosecutor is put in the same, not worse,
position as though the original illegality had not occurred.”
United States v. Madrid, 152 F.3d 1034, 1037-38 (8th Cir.
1998)(citing Nix v. Williams, 467 U.S. 431, 442-43 (1984)).                 In
evaluating the evidence, the focus is on what the officers would
likely have done had the unlawful search not occurred.                The


                                    -14-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 15 of 16 - Page ID # 174



government must prove by a preponderance of the evidence: (1)
that there was a reasonable probability that the evidence would
have been discovered by lawful means in the absence of police
misconduct, and (2) that the government was actively pursuing a
substantial, alternative line of investigation at the time of the
constitutional violation.      United States v. Villalba-Alvarado,
345 F.3d 1007, 1019-20 (8th Cir. 2003).


     Because of my finding that the officers' entry into the room
was consensual, there is no need to address this argument.                 From
the above discussion, however, it is apparent that once the
bongs, baggies, and suspected drugs were found either in plain
view or on the persons of the defendants, officers had probable
cause to search the premises.        If they had not immediately
searched the room, they would have applied for and received a
search warrant after the defendants had been removed, and secured
the room in the meantime until the warrant could be executed.
The items in the suitcase would have been discovered and seized
in such a search.


     Accordingly,


     IT THEREFORE HEREBY IS RECOMMENDED to the Hon. Richard G.
Kopf, United States District Judge, that the motion to suppress,
filing 26, be denied in all respects.

     The parties are notified that failure to object to this
recommendation in accordance with the local rules may result in
loss of the opportunity to challenge the factual findings herein
on appeal.

     FURTHER, IT HEREBY IS ORDERED, Trial of this matter is set
to commence at 9:00 a.m. on January 14, 2008 before the Hon.




                                    -15-
4:07-cr-03117-RGK-DLP   Doc # 48   Filed: 11/16/07   Page 16 of 16 - Page ID # 175



Richard G. Kopf, United States District Judge. Jury selection
will be at commencement of trial. Trial is scheduled for a
duration of four trial days.


     Dated November 15, 2007


                                   BY THE COURT




                                   s / David L. Piester
                                   United States Magistrate Judge




                                    -16-
